           Case 1:19-cv-06631-GHW Document 95 Filed 01/11/21 Page 1 of 1
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                                                                        ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                        DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                        DATE FILED: 1/11/21
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JOSEPH SPADAFORA and GUDELIA LEVINE, :
                                                                  :
                                                    Plaintiffs, :
                                                                  :        1:19-cv-6631-GHW
                              -against-                           :
                                                                  :            ORDER
THE STANDARD FIRE INSURANCE                                       :
COMPANY,                                                          :
                                                                  :
                                                 Defendant. :
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         On January 4, 2021, the Court held a conference regarding Plaintiffs’ motions in limine. Dkt.

No. 66. For the reasons stated on the record, Plaintiffs’ motions are GRANTED. Defendant’s

fourth, seventh, eighth, and tenth affirmative defenses are stricken.

         The Clerk of Court is directed to terminate the motion pending at Dkt. No. 66.

         SO ORDERED.

 Dated: January 11, 2021                                      _____________________________________
                                                                       GREGORY H. WOODS
                                                                      United States District Judge
